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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

   UNITED STATES OF AMERICA

   v.                                            Case No. 8:17-cr-372-T-33TGW

   TYRONE DEVLIN

                          UNITED STATES’ MOTION
                         FOR ORDER OF FORFEITURE

         Pursuant to 18 U.S.C. §§ 981(a)(1)(C) and 982(a)(2)(B), 28 U.S.C. §

   2461(c), and Rule 32.2(b)(2) of the Federal Rules of Criminal Procedure, the

   United States of America hereby files this motion for an order of forfeiture

   against the defendant in the amount of $26,852.35, representing the amount of

   proceeds he obtained as a result of his participation in the conspiracy charged in

   Count One of the Indictment and the substantive offenses charged in Counts

   Two and Three.

         The United States further asks that the order of forfeiture become final as

   to the defendant at sentencing. In support of its motion, the United States

   submits the following memorandum of law.
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                                MEMORANDUM OF LAW

   I.    Statement of Facts

         A.     Allegations Against the Defendant

         1.     The defendant was charged in an Indictment, in relevant part,

   with (1) conspiracy to commit theft of government property, access device

   fraud, and aggravated identity theft, in violation of 18 U.S.C. § 371, (2) theft of

   government property, in violation of 18 U.S.C. §§ 641 and 2, and (3) access

   device fraud, in violation of 18 U.S.C. §§ 1029(a)(3) and 1029 (c)(1)(A)(i), and

   2. Doc. 1.

         2.     The Indictment also contained forfeiture allegations putting the

   defendant on notice that, among others, pursuant to 18 U.S.C. §§ 981(a)(1)(C)

   and 982(a)(2)(B), and 28 U.S.C. § 2461(c), the United States would seek to

   forfeit approximately $560,938.00, representing the amount proceeds obtained

   as a result of the violations. Id., pp. 12-14.

         B.     Finding of Guilt and Admissions of Fact

         3.     On March 26, 2018, without the benefit of a plea agreement, the

   defendant pled guilty to Counts One (conspiracy to commit theft of government

   property, access device fraud, and aggravated identity theft), Two (theft of

   government property), Three (access device fraud), and Four (aggravated



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   identity theft)1 before United States Magistrate Judge Thomas G. Wilson, who

   recommended that the defendant’s guilty plea be accepted. Docs. 110, 111.

   On March 27, 2018, United States District Judge Virginia M. Hernandez

   Covington accepted the defendant=s plea and adjudicated him guilty. Doc.

   112. The defendant=s sentencing is currently set for June 28, 2018.

            4.    Pages 4 through 11 of the United States’ Notice of Maximum

   Penalties, Elements of Offense, Personalization of Elements and Factual Basis

   (Doc. 96), which was established at the defendant’s change of plea hearing,

   state, among other things, that the defendant and others obtained stolen

   identities and filed fraudulent federal income tax returns using those stolen

   identities. The defendant, his co-defendant Marquis Thornton, and their

   co-conspirators obtained debit cards issued and/or registered in their own and

   other people’s names and directed that the debit cards be loaded with

   fraudulently obtained tax refunds. The defendant, Thornton, and their

   co-conspirators then shared in the proceeds of the fraud.

            On August 16, 2012, the defendant, Thornton, and two co-conspirators

   were located in a hotel room when officers from the Tampa Police Department

   (TPD) responded to a complaint by the hotel manager about the room’s

   occupants. TPD officers searched the hotel room and located approximately

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       There is no forfeiture provision for aggravated identity theft.

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   1,968 pieces of stolen personally identifiable information. The room also

   contained three laptop computers that the conspirators had used to file and

   attempt to file fraudulent federal income tax returns. In total, the conspirators

   possessed at least 48 actual debit cards issued in the names of identity theft

   victims, which were unauthorized access devices which the conspirators used

   to receive or attempt to receive fraudulently claimed federal income tax refunds

   in the names of other identity theft victims.

         During the timeframe of the conspiracy, the defendant used H&R Block

   debit card ending in account number -5354 issued in the name of D.R. That

   card was loaded with a fraudulently obtained refund in the amount of $8,958 on

   August 15, 2012, and the defendant was subsequently seen on surveillance

   video withdrawing the fraud proceeds.

         During the timeframe of the conspiracy, the defendant also had an H&R

   Block debit card ending in account number -1604 registered in his name. That

   card was loaded with a fraudulently obtained refund in the amount of $8,972 on

   September 12, 2012, and another fraudulently obtained refund in the amount of

   $8,922.35 on October 17, 2012. The defendant was captured on video

   withdrawing these fraud proceeds at an ATM.

         In total, during the conspiracy, the defendant personally received at least

   $26,852.35 in fraud proceeds.

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   II.    Applicable Law

          The United States is entitled to an order of forfeiture against the

   defendant pursuant to 18 U.S.C. § 981(a)(1)(C), which provides for the civil

   forfeiture of any property, real or personal, which constitutes or is derived from

   proceeds of any "specified unlawful activity," as defined in 18 U.S.C. §

   1956(c)(7), or a conspiracy to commit such offense (18 U.S.C. § 371), which

   includes theft of government funds (18 U.S.C. § 641). Because the United

   States is entitled to civilly forfeit proceeds of such offense, it may criminally

   forfeit the proceeds pursuant to 28 U.S.C. § 2461(c), which authorizes the

   criminal forfeiture of any property that can be forfeited civilly, using the

   procedures set forth in 21 U.S.C. § 853.

          In addition, the United States is entitled to an order of forfeiture against

   the defendant pursuant to 18 U.S.C. § 982(a)(2)(B), which provides for the

   criminal forfeiture of any property constituting, or derived from, proceeds

   obtained directly or indirectly, as a result of access device fraud (18 U.S.C. §

   1029) or a conspiracy to commit such offense (18 U.S.C. § 371).

          For cases in which a defendant no longer has the actual dollars or

   property traceable to proceeds in his possession, or the government cannot

   locate those assets, the obligation to forfeit simply takes the form of an order of

   forfeiture in favor of the United States. See United States v. Padron, 527 F.3d

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   1156, 1161-62 (11th Cir. 2008). Rule 32.2(b)(1) provides that, where the

   government seeks an order of forfeiture, the Court must determine the amount

   of money that the defendant will be ordered to pay.

         The defendant has dissipated the criminal proceeds that he obtained

   from his offenses. Because the United States could not locate the specific

   property constituting or derived from the proceeds the defendant obtained from

   his participation in the conspiracy charged in Count One and the substantive

   offenses charged in Counts Two and Three, the United States seeks an order of

   forfeiture against the defendant in the amount of $26,852.35, pursuant to

   Federal Rule of Criminal Procedure 32.2(b)(2). As outlined in the United

   States’ Notice of Maximum Penalties, Elements of Offense, Personalization of

   Elements an Factual Basis (Doc. 96) which was established at the defendant’s

   change of plea hearing, the defendant obtained $26,852.35 in proceeds as a

   result of his participation in the conspiracy to commit theft of government

   property and access device fraud, and the substantive offenses of theft of

   government property and access device fraud. If the Court finds that at least

   $26,852.35 was obtained by the defendant, and that he has dissipated those

   proceeds, then it is appropriate for the Court to enter an order of forfeiture

   against the defendant in that amount pursuant to Rule 32.2(b)(2).



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   III.   Conclusion

          For the reasons stated above, the United States requests that, pursuant to

   18 U.S.C. §§ 981(a)(1)(C) and 982(a)(2)(B), 28 U.S.C. § 2461(c), and Rule

   32.2(b)(2), the Court enter an order of forfeiture against the defendant in the

   amount of $26,852.35, for which he will be held personally liable.

          The United States further requests that, because the $26,852.35 in

   proceeds was dissipated by the defendant, the United States may seek, as a

   substitute asset, pursuant to 21 U.S.C. § 853(p), as incorporated by 18 U.S.C. §

   982(b)(1) and/or 28 U.S.C. § 2461(c), forfeiture of any of the defendant’s

   property up to the value of $26,852.35.

          The United States further requests that the order of forfeiture become

   final as to the defendant at sentencing.

          As required by Federal Rule of Criminal Procedure 32.2(b)(4)(B), the

   United States requests that the Court include the forfeiture when orally

   pronouncing the sentence and in the judgment. See Fed. R. Crim. P.

   32.2(b)(4)(B) and United States v. Kennedy, 201 F.3d 1324, 1326 (11th Cir. 2000).




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         The United States further requests that the Court retain jurisdiction to

   address any third party claim that may be asserted in these proceedings, to enter

   any further order necessary for the forfeiture and disposition of such property,

   and to order any substitute assets forfeited to the United States up to the

   amount of the order of forfeiture.

                                            Respectfully submitted,

                                            MARIA CHAPA LOPEZ
                                            United States Attorney


                                     By:    s/Suzanne C. Nebesky
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                            CERTIFICATE OF SERVICE

          I hereby certify that on May 30, 2018, I electronically filed the foregoing

   with the Clerk of the Court by using the CM/ECF system which will send a

   notice of electronic filing to counsel of record.



                                             s/Suzanne C. Nebesky
                                             SUZANNE C. NEBESKY
                                             Assistant United States Attorney




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